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February 24, 2018                                                     smolo@mololamken.com
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VIA CM/ECF

The Honorable Katherine B. Forrest
United States District Judge
Southern District of New York
500 Pearl Street, Room 2230
New York, NY 10007

       RE:     Deutsche Bank National Trust Company, solely in its capacity as Trustee for the
               Morgan Stanley Structured Trust I 2007-1 v. Morgan Stanley Mortgage Capital
               Holdings LLC, No. 14 Civ. 3020 (S.D.N.Y.)

Dear Judge Forrest:

       We represent plaintiff Deutsche Bank National Trust Company, solely in its capacity as
Trustee (the “Trustee”) for the Morgan Stanley Structured Trust I 2007-1 (the “Trust”), but we
write on behalf of both parties to update the Court on the settlement of this matter.

        As I explained in my letter dated February 19, 2018, Morgan Stanley and the directing
certificateholder reached a settlement in principle regarding the economic terms on which to
resolve this action on Friday, February 16. Those settlement terms now have been memorialized
in a full settlement agreement that has been signed by Morgan Stanley and presented to the
Trustee. The Trustee has reviewed the agreement and has determined that the form of the
agreement is acceptable to the Trustee if approved by the certificateholders of the Trust. As
contemplated by the agreement and described below, the Trustee promptly intends to solicit
certificateholders’ votes to determine whether they support settlement on the terms set forth in
the agreement.

        Within five business days, the Trustee will send a consent solicitation to all
certificateholders informing them of the settlement terms and attaching a copy of the settlement
agreement. Certificateholders will be provided with 30 days to cast their votes. For the
settlement to be approved, certificateholders with at least 25% of the outstanding voting rights
and at least 50% of the votes actually cast must support the settlement (the “Requisite
Percentage”). The directing certificateholder, which has informed the Trustee that it supports the
settlement, currently possesses approximately 43% of the outstanding voting rights of the Trust.
Once the solicitation period has been completed (in fewer than 40 days from today), the Trustee
will know for certain whether the Requisite Percentage of certificateholders have approved the
settlement and can promptly inform the Court. If the Requisite Percentage of certificateholders
has approved the settlement, then pursuant to the terms of the agreement, the parties promptly
would stipulate to dismiss this action.
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        If the Requisite Percentage is met, depending on the exact outcome of the
certificateholder vote, the Trustee may dismiss this action without prejudice and commence a
Trust Instruction Proceeding (“TIP”) for approval of the Trustee’s decision to settle in probate
court in California. TIPs are a common feature of the trustee approval process in trust
settlements like this one and provide objecting certificateholders with an opportunity to be heard
by a court before action is taken by a trustee. If the Requisite Percentage is met and the Trustee
determines not to file a TIP, then the Trustee would dismiss this action with prejudice.

                                               ***

       In light of the above, the parties respectfully request the opportunity to report back to the
Court immediately upon the completion and tallying of the certificateholder vote, and that the
Court stay all deadlines and proceedings in the interim and hold in abeyance any decision on
Morgan Stanley’s motion for judgment on the pleadings and renewed motion for summary
judgment (ECF No. 155). We appreciate the Court’s consideration of this request.

                                                     Respectfully submitted,

                                                     /s/ Steven F. Molo
                                                     Steven F. Molo

cc:    All counsel of record




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